Case 5:19-cv-01350-SMH-KLH Document 47 Filed 07/16/20 Page 1 of 2 PageID #: 377




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION


  MATTHEW O’NEAL                                CIVIL ACTION NO. 19-1350

  VERSUS                                        JUDGE S. MAURICE HICKS, JR.

  BAKER HUGHES OILFIELD                         MAGISTRATE JUDGE HAYES
  OPERATIONS, LLC, ET AL.

                       CONSENT TEMPORARY RESTRAINING ORDER

       Considering the Verified Motion for Temporary Restraining Order (the “Motion”)

 filed by Counterclaim Defendant PetroTech Solutions, LLC (“PetroTech”), and, based

 upon Baker Hughes Oilfield Operations, LLC and Baker Petrolite, LLC’s (jointly “Baker

 Hughes”) agreement to enter into this Consent Temporary Restraining Order, the Court

 concludes that the Motion should be granted.

       The Court finds that PetroTech has demonstrated that it will likely succeed on the

 merits on its contention that it is not bound to arbitrate the counterclaims asserted by

 Baker Hughes against PetroTech; that PetroTech will likely suffer irreparable harm should

 Baker Hughes be permitted to proceed against PetroTech in the American Arbitration

 Association arbitration proceeding entitled Baker Hughes Oilfield Operations, LLC and

 Baker Petrolite, LLC v. Matthew O’Neal and PetroTech Solutions, LLC, AAA No. -- -- --

 initiated by Baker Hughes on June 29, 2020 (the “Arbitration”); and that both the balance

 of hardships and the public interest factors favor granting a temporary restraining order.

 Therefore,

       IT IS HEREBY ORDERED THAT:

    (1) Baker Hughes shall, no later than five (5) days of the entry of this Order, dismiss

       Petrotech from the Arbitration, without prejudice to Baker Hughes’ right to re-file
Case 5:19-cv-01350-SMH-KLH Document 47 Filed 07/16/20 Page 2 of 2 PageID #: 378




       against PetroTech in the Arbitration should the Court grant Baker Hughes’ Motion

       to Compel Arbitration [Rec. Doc. 34] as to PetroTech;

    (2) Baker Hughes, and anyone acting on its behalf, be and are hereby restrained from

       proceeding against PetroTech in the Arbitration, unless and until such time as this

       Court grants Baker Hughes’ Motion to Compel Arbitration as to PetroTech;

    (3) This Consent Temporary Restraining Order shall be and is hereby effective

       through and until the Court’s ruling on Baker Hughes’ Motion to Stay and Compel

       Arbitration. Pursuant to Federal Rule of Civil Procedure 65(b)(2), the Court notes

       that Baker Hughes has consented to this extension for the effectiveness of the

       Consent Temporary Restraining Order and the Court finds good cause exists

       therefor; and

    (4) Nothing in this Consent Temporary Restraining Order shall affect Baker Hughes’

       rights to compel Matthew O’Neal (“O’Neal”) to arbitrate the claims between O’Neal

       and Baker Hughes.

       THUS DONE AND SIGNED, in Shreveport, Louisiana, this 16th day of July, 2020.




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